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                                                                      December 9, 2020

                                                                          VPC

                          UNITED STATES DISTRICT COURT

                        CENTRAL DISTRICT OF CALIFORNIA


SALVADOR CANAVA, individually
and on behalf of others similarly situated,
                                                 Case No. 5:19-cv-00401-SB (KKx)
       Plaintiff,                                Honorable Stanley Blumenfeld, Jr.
                                                 Courtroom 6C
       v.
                                                ORDER REGARDING COLLECTIVE
RAIL DELIVERY SERVICES,                           AND CLASS ACTION NOTICE
INCORPORATED AND GREG P.
STEFFLRE, JUDI GIRARD STEFFLRE,                  Complaint filed: March 4, 2019

       Defendants.

       Having considered the Parties’ Joint Statement Regarding Collective and Class
 Action Notice, Doc. 117, the Court finds good cause shown to grant the Parties’ stipulation
 regarding collective and class action notice, and it is therefore,
       (1)    ORDERED that within 10 days of the Court’s Order Regarding Collective
 and Class Action Notice (“Order”), Defendants will provide to Plaintiff’s Counsel in
 electronic spreadsheet format such as Excel, the following information, each contained in
 a separate column: last names, first names, addresses, email addresses (if available), an
 employee identification number or unique identifier, and dates of employment of collective
 and class action members (Notice List);
       (2)    ORDERED that within 10 days of receiving the Notice List, Plaintiffs will
 issue notice in both English and Spanish in the form filed as Doc. 117-1 via U.S. mail and
 email to the collective and class action members included on the Notice List;
       (3)    ORDERED that collective and class action members shall have a period of 90
 days to opt into the FLSA collective action or to opt out of the state law Rule 23 class
 action (the Notice Period) from the date the Notice issues;
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       (3)    ORDERED that Defendants shall disseminate to collective and class action
 members currently working for Defendants notice in the form filed as Doc. 117-2 via their
 electronic communication system with drivers. Defendants shall disseminate the electronic
 communication twice, once within the first 20 days of the Notice Period and once 30 days
 before the end of the Notice Period. Before disseminating the electronic communication,
 references to the Honorable Jesus G. Bernal in Doc. 117-2 shall be changed to the
 Honorable Stanley Blumenfeld, Jr.;
       (4)    ORDERED that Defendants will promptly provide the telephone number and
 last four digits of the social security number for any class member whose notice is returned
 as undeliverable or collective action member who has neither opted-in to the collective
 action nor opted-out of the Rule 23 class action within the first 30 days of the Notice Period
 and Plaintiff will use that information to obtain a current address/email address to which
 the Notice may be re-issued; and
       (5)    ORDERED that Plaintiff’s counsel will mail and email reminder postcards
 and emails in the form filed as Doc. 117-3 twenty-one (21) days before the expiration of
 the Notice Period to those putative collective action members who have neither opted-in to
 the collective action nor opted-out of the Rule 23 class action at that point. Before sending
 the reminder postcards, references to the Honorable Jesus G. Bernal in Doc. 117-3 shall be
 changed to the Honorable Stanley Blumenfeld, Jr.


                    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.




 Dated: 12/9/2020
                                              STANLEY BLUMENFELD, JR.
                                               United States District Judge
